              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL CASE NO. 4:94cr44-1


UNITED STATES OF AMERICA,                )
                                         )
                                         )
                 vs.                     )     ORDER
                                         )
                                         )
ELLANCER ALLEN McGRADY.                  )
                                         )

     THIS MATTER is before the Court on the Defendant’s request to

proceed in forma pauperis on appeal of the Court’s denial of his motion filed

pursuant to 18 U.S.C. § 3582(c)(2) [Doc. 676] and the Defendant’s Motion to

Reduce Movant’s Criminal History Points [Doc. 677].

     On August 30, 2012, the Defendant filed a Notice of Appeal of the

Court’s Order denying his request for a reduction of sentence pursuant to 18

U.S.C. § 3582(c)(2). [Doc. 675]. The Defendant moves to proceed with this

appeal in forma pauperis.     The record in this matter indicates that the

Defendant was determined to be indigent and thereby was appointed counsel

to represent him in the underlying criminal proceedings.       Based on this

determination of indigency, the Defendant is entitled to proceed without




      Case 4:94-cr-00044-MR   Document 680   Filed 09/14/12   Page 1 of 3
prepayment of fees on appeal. As such, the Defendant’s request to proceed

in forma pauperis should be denied as moot.

      By way of a separate motion filed August 31, 2012, the Defendant

moves for a reduction of his sentence based upon the erroneous assessment

of criminal history points. [Doc. 677]. The filing of a notice of appeal generally

divests the district court of jurisdiction over a case. See United States v.

Wooden, 230 F. App’x 243, 244 (4th Cir. 2007). While a pending appeal does

not divest the district court of jurisdiction to consider a motion to correct a

sentence under Federal Rule of Criminal Procedure 35(a), see Fed. R. App.

P. 4(b)(5), such a motion must be filed within fourteen days after sentencing,

see Fed. R. Crim. P. 35(a).

      In the present case, the Defendant does not specify the Rule under

which he is seeking relief. To the extent that the Defendant’s motion can be

construed as one to correct the judgment, the motion was filed well after the

fourteen-day time period provided for in Rule 35(a). Therefore, unless and

until the Defendant’s appeal is dismissed or otherwise resolved by the Court

of Appeals, the Court is without jurisdiction to entertain the Defendant’s

motion.




                                        2


      Case 4:94-cr-00044-MR    Document 680     Filed 09/14/12   Page 2 of 3
     IT IS, THEREFORE, ORDERED that the Defendant’s request to

proceed in forma pauperis on appeal of the Court’s denial of his motion filed

pursuant to 18 U.S.C. § 3582(c)(2) [Doc. 676] is DENIED AS MOOT.

     IT IS FURTHER ORDERED that the Defendant’s Motion to Reduce

Movant’s Criminal History Points [Doc. 677] is DENIED WITHOUT

PREJUDICE.

     IT IS SO ORDERED.


                                          Signed: September 13, 2012




                                      3


      Case 4:94-cr-00044-MR   Document 680   Filed 09/14/12   Page 3 of 3
